                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 JOHNNIE WEBB, JR.,                               )
                                                  )
 Plaintiff,                                       )
                         v.                       )
                                                  )
 DAYMARK RECOVERY SERVICES,                       )    CA No.: 1:21-cv-00424-TDS-JLW
 INC.; AND FREEDOM HOUSE                          )
 RECOVERY CENTER, INC.,                           )
                                                  )
 Defendants.                                      )

    JOINT STIPULATION OF DISMISSAL OF CLAIMS WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

Johnnie Webb Jr., and Defendants, by and through their respective counsel, hereby jointly

stipulate to the dismissal with prejudice of all of Plaintiff Webb’s claims and causes of

action in the above-styled case, in their entirety, with each party to bear his or its own costs

and attorney’s fees.


Respectfully submitted this June 12, 2023,


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                           CERTIFICATE OF SERVICE
      I hereby certify that on June 12, 2023, the foregoing JOINT STIPULATION OF
DISMISSAL OF CLAIMS WITH PREJUDICE was served using the CM/ECF system
on the following:

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